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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO
TRAVIS GLASS,

               Plaintiff,

v.                                                                  1:21-cv-00543 JCH-JMR

XTO ENERGY, and TOMMIE CRIDDLE,
individually and as agent of XTO Energy or
as agent or employee of INTEGRITY
INSPECTION SERVICES, LLC and
INTEGRITY INSPECTION SERVICES,

               Defendants.

                                  ORDER TO SHOW CAUSE
       THIS MATTER is before the Court sua sponte. Federal Rule of Civil Procedure 4(m)

provides in part:

       If a defendant is not served within 90 days after the complaint is filed, the court—
       on motion or on its own after notice to the plaintiff—must dismiss the action
       without prejudice against that defendant or order that service be made within a
       specified time.

       Defendant XTO Energy, Inc. removed this action to this Court from the Eleventh Judicial

District on June 11, 2021. Doc. 1.

              In all cases removed from any State court to any district court of the
       United States in which any one or more of the defendants has not been served
       with process or in which the service has not been perfected prior to removal, or in
       which process served proves to be defective, such process or service may be
       completed or new process issued in the same manner as in cases originally filed in
       such district court.

28 U.S.C. § 1448. Accordingly, plaintiff had through April 14, 2022 to serve the defendants.

The record reflects that plaintiff has not served defendant Tommie Criddle. Plaintiff has not

shown good cause for the failure to serve. See FED. R. CIV. P. 4(m).
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       IT IS THEREFORE ORDERED that to avoid dismissal of this action against defendant

Tommie Criddle, plaintiff must either effect service or provide the Court with a written

explanation showing good cause why service has not been made, on or before Tuesday, April

11, 2023.

                                             ______________________________________
                                             Jennifer M. Rozzoni
                                             United States Magistrate Judge




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